                     Case: 3:15-cr-00024-JGC Doc #: 108 Filed: 04/20/16 1 of 7. PageID #: 676
AO 245B        (Rev. 09/15) Judgment in a Criminal Case
               6KHHW 



                                           81,7(' 67$7(6 ',675,&7 &2857
                                                          NORTHERN DISTRICT OF OHIO
                                                                                
              81,7(' 67$7(6 2) $0(5,&$                                                 JUDGMENT IN A CRIMINAL CASE
                                   v.                                           
                                                                                
                          Pablo Duran, Jr.
                                                                                       &DVH 1XPEHU 3:15-cr-00024-4
                                                                                       860 1XPEHU 15345-030
                                                                                
                                                                                        Jeffrey P. Nunnari
                                                                                        'HIHQGDQW¶V $WWRUQH\
THE DEFENDANT:
✔SOHDGHG JXLOW\ WR FRXQWV
G                                       15 of the ss indictment
G SOHDGHG QROR FRQWHQGHUH WR FRXQWV
   ZKLFK ZDV DFFHSWHG E\ WKH FRXUW
G ZDV IRXQG JXLOW\ RQ FRXQWV
   DIWHU D SOHD RI QRW JXLOW\

7KH GHIHQGDQW LV DGMXGLFDWHG JXLOW\ RI WKHVH RIIHQVHV

Title & Section                    Nature of Offense                                                             Offense Ended               Count

 8:1324(a)(1)(A)(ii), 1324(a)(1)    (B)(i), and 1324(a)(4)(A)      Harboring an Illegal Alien                     12/2014                     15s




   See additional count(s) on page 2


      7KH GHIHQGDQW LV VHQWHQFHG DV SURYLGHG LQ SDJHV 2 WKURXJK 7                   RI WKLV MXGJPHQW The sentence is impRVHG SXUVXDQW Wo the
6HQWHQFLQJ 5HIRUP $FW RI 
G 7KH GHIHQGDQW KDV EHHQ IRXQG QRW JXLOW\ RQ FRXQWV
G &RXQWV                                                  G LV        G DUH dismiVVHG RQ WKH PRWLRQ RI WKH 8QLWHG 6WDWHV
         ,W LV RUGHUHG WKDW WKH GHIHQGDQW PXVW QRWLI\ WKH 8QLWHG6WDWHV DWWRUQH\ IRU WKLV GLVWULFW ZLWKLQ  GD\V RI DQ\ FKDQJH RI QDme UHVLGHQFH
RU PDLOLQJ DGGUHVV XQWLO DOO ILQHV UHVWLWXWLRQ FRVWV DQG VSHFLDO DVVHVVPHQWV LPSRVHG E\ WKLV MXGJPHQW DUH IXOO\ SDLG If RUGHUHG WR SD\ UHVWLWXWLRQ
WKH GHIHQGDQW PXVW QRWLI\ WKH FRXUW DQG 8QLWHG 6WDWHV DWWRUQH\ RI PDWHULDO FKDQJHV LQ HFRQRPLF FLUFXPVWDQFHV

                                                                               04/11/2016
                                                                                'DWH RI ,PSRVLWLRQ RI -XGJPHQW




                                                                              s/James G. Carr
                                                                                Signature of Judge


                                                                                James G. Carr
                                                                                1DPH RI -XGJH                               7LWOH RI -XGJH


                                                                                4/20/16
                                                                                'DWH
                   Case: 3:15-cr-00024-JGC Doc #: 108 Filed: 04/20/16 2 of 7. PageID #: 677
AO 245B      (Rev. 09/15) Judgment in a Criminal Case
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                                                                                                                      Judgment Page: 2 of 7
  '()(1'$17 Pablo Duran, Jr.
  &$6(180%(5 3:15-cr-00024-4


                                                                 IMPRISONMENT

           7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
  WRWDOWHUPRI
   14 Months.




      G 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV




      G 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

      G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
          G DW                                          G DP      G SP        RQ

          G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
      ✔ 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
      G
          G EHIRUH               RQ
          ✔ DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
          G
          G DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                       RETURN
  ,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




          'HIHQGDQWGHOLYHUHGRQ                                                              WR

  D                                                      ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                         81,7('67$7(60$56+$/


                                                                               %\
                                                                                                      '(387<81,7('67$7(60$56+$/
                         Case: 3:15-cr-00024-JGC Doc #: 108 Filed: 04/20/16 3 of 7. PageID #: 678
 AO 245B          (Rev. 09/15) Judgment in a Criminal Case
                  6KHHW²6XSHUYLVHG5HOHDVH

                                                                                                                                               Judgment Page: 3 of 7
  '()(1'$17 Pablo Duran, Jr.
  &$6(180%(5 3:15-cr-00024-4
                                                                   SUPERVISED RELEASE
  8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI
  3 years


          7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFW WRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVH
                                                                                                                                        IURPWKH
  FXVWRG\RIWKH%XUHDXRI3ULVRQV
  7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
  7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
  VXEVWDQFHThe defendant shall submitRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
  WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
  ✔ 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
  G
           IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)
  ✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
  G
  ✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
  G

  G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW86&et      seq
    DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
           ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

  G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
          ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
  6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
            7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDW haYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQal FRQGLWLRQV
                                                                                                                                        
  RQWKHDWWDFKHGSDJH

                                                STANDARD CONDITIONS OF SUPERVISION
           WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUW
             RUWKHSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
          WKHGHIHQGDQWVKDOO comply with the Northern District of Ohio Offender Employment Policy which may include participation in
            training, education, counseling and/or daily job search as directed by the pretrial services and probation officer. If not in compliance
            with the condition of supervision requiring full-time employment at a lawful occupation, the defendant may be directed to perform
            up to 20 hours of community service per week until employed, as approved or directed by the pretrial services and probation officer.
           WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
           WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
             FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
           WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
           WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
             IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
     ) tKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
         FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW \WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
           WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPeQWWRDFWDVDQ iQIRUPHURU DVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRXtWKH
              SHUPLVVLRQRIWKHFRXUWDQG

          DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
             UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPiWWK HSUREDWLRQRIILFHUWRPaNHVXFKQRtLILFDWLRQVDQGWRFRQILUP WKH
             GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
6QPOGJOEJOHPGBWJPMBUJPOPGQSPCBUJPOPSTVQFSWJTFESFMFBTF*VOEFSTUBOEUIBUUIFDPVSUNBZ	
SFWPLFTVQFSWJTJPO	
FYUFOEUIFUFSNPGTVQFSWJTJPOBOE
PS	
NPEJGZUIFDPOEJUJPOTPGTVQFSWJTJPO5IFTFDPOEJUJPOTIBWFCFFOSFBEUPNF*GVMMZVOEFSTUBOEUIFDPOEJUJPOTBOEIBWFCFFOQSPWJEFEBDPQZPGUIFN
%BUFE@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
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                  Case: 3:15-cr-00024-JGC Doc #: 108 Filed: 04/20/16 4 of 7. PageID #: 679
AO 245B     (Rev. 09/15) Judgment in a Criminal Case
            6KHHW&²6XSHUYLVHG5HOHDVH

                                                                                                    Judgment Page: 4 of 7
 '()(1'$17 Pablo Duran, Jr.
 &$6(180%(5 3:15-cr-00024-4

                                         SPECIAL CONDITIONS OF SUPERVISION
  Financial Disclosure
  The defendant shall provide the U.S. Pretrial Services & Probation Officer with access to any
  requested financial information.


  Financial Restrictions
  The defendant shall not incur new credit charges or open additional lines of credit without the
  approval of the U.S. Pretrial Services & Probation Officer.

  Financial Windfall Condition
  The defendant shall apply all monies received from income tax refunds, lottery winnings,
  judgments, and/or any other anticipated or unexpected financial gains to the outstanding court ordered
  financial obligation.
                   Case: 3:15-cr-00024-JGC Doc #: 108 Filed: 04/20/16 5 of 7. PageID #: 680
AO 245B      (Rev. 09/15) Judgment in a Criminal Case
             6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV

                                                                                                                   Judgment Page: 5 of 7
 '()(1'$17 Pablo Duran, Jr.
 &$6(180%(5 3:15-cr-00024-4
                                               CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                       Assessment                                      Fine                               Restitution
 TOTALS            $ 100.00                                          $ 0.00                            $ 4,750.00


 G7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                $QAmended Judgement in a Criminal Case (AO 245C) ZLOOEHHQWHUHG
     DIWHUVXFKGHWHUPLQDWLRQ

 ✔ 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQLQFOXGLQJFRPPXQLW\UHVWLWXWLRQWRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
 G
     ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
     WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86&LDOOQRQIHGHUDOYLFWLPsPXVWEHSDLG
     EHIRUHWKH8QLWHG6WDWHVLVSDLG

 Name of Payee                                                   Total Loss*               Restitution Ordered      Priority or Percentage

  VIctim 6                                                                                             $3,500.00
  Victim 7                                                                                             $1,250.00




TOTALS                                                                            $0.00                $4,750.00
 ✔    See page 5A for additional criminal montary conditions.
G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86&I$OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86&J

✔ 7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW
G
      ✔ WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH
      G                                                     ✔ ILQH
                                                            G          ✔ UHVWLWXWLRQ
                                                                       G
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH          G ILQH    G UHVWLWXWLRQLVPRGLILHGDVIROORZV


)LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRr RIIHQVHVFRPPLWWHGRQRUDIWHU
                                                                                                                 
6HSWHPEHUEXWEHIRUH$SULO
                   Case: 3:15-cr-00024-JGC Doc #: 108 Filed: 04/20/16 6 of 7. PageID #: 681
AO 245B      (Rev. 09/15) Judgment in a Criminal Case
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'()(1'$17 Pablo Duran, Jr.
&$6(180%(5 3:15-cr-00024-4

                      ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES



          The defendant shall pay restitution jointly and severally with co-defendant’s Conrado Salgado
          Soto, Aroldo Rigoberto Castillo-Serrano, Ana Angelica Pedro Juan, and related case defendant Bartolo
          Dominguez
          in the amount of $3,500.00 to Victim 7 and $1,250.00 to Victim 6 , through the Clerk
          of the U.S. District Court. Restitution is due and payable immediately.

          The defendant shall pay 25% of his gross income per month, through the Federal Bureau of
          Prisons Inmate Financial Responsibility Program. If a restitution balance remains upon release
          from imprisonment, payment is to commence no later than 60 days following release from
          imprisonment to a term of supervised release (in equal monthly payments, or at least a minimum
          of 10% of defendant's gross monthly income) during the term of supervised release and
          thereafter as prescribed by law.

          Notwithstanding establishment of a payment schedule, nothing shall prohibit the United States
          from executing or levying upon property of the defendant discovered before and after the date of
          this Judgment.

          The Court waives the interest requirement in this case.


                                                           Joint and several amounts for:
                                                            Restitution     Back Wages

          3:15-cr-00024-JGC-1 Aroldo Rigoberto Castillo-Serrano $4750           $62,480.00

          3:15-cr-00024-JGC-2 Conrado Salgado Soto                  $4750     $62,480.00

          3:15-cr-00024-JGC-3 Ana Angelica Pedro Juan               $4750        n/a

          3:15-cr-00024-JGC-4 Pablo Duran, Jr.                      $4750       n/a

          3:15-cr-00067-JGC Bartolo Dominguez                       $3500        n/a
                   Case: 3:15-cr-00024-JGC Doc #: 108 Filed: 04/20/16 7 of 7. PageID #: 682
AO 245B      (Rev. 09/15) Judgment in a Criminal Case
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                                                                                                                              Judgment Page: 7 of 7
'()(1'$17 Pablo Duran, Jr.
&$6(180%(5 3:15-cr-00024-4

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

A    G /XPSVXPSD\PHQWRI                                   GXHLPPHGLDWHO\EDODQFHGXH

          G      QRWODWHUWKDQ                                      RU
          G      LQDFFRUGDQFH          G &        G '        G      (RU     G )EHORZRU
B    G 3D\PHQWWREHJLQLPPHGLDWHO\PD\EHFRPELQHGZLWK                     G &        G 'RU       G )EHORZRU
C    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly) LQVWDOOPHQWVRI                            RYHUDSHULRGRI
                          (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                         RYHUDSHULRGRI
                          (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
          WHUPRIVXSHUYLVLRQRU

E    G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                    (e.g., 30 or 60 days)DIWHUUHOHDVHIURP
          LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
     G
           [✔] A special assessment of $ ____________
                                          100.00                                                 Fifteen
                                                       is due in full immediately as to count(s) _________________________________.
           Mailed payments are to be sent and made payable to the Clerk, U.S. District Court, 801 West Superior Ave., Cleveland, OH 44113-1830.

          [ ] After the defendant is released from imprisonment, and within 30 days of the commencement of the term of supervised release, the probation
          officer shall recommend a revised payment schedule to the Court to satisfy any unpaid balance of the restitution. The Court will enter an order
          establishing a schedule of payments.


8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMudgmeQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXHGXULQJ
LPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHpW WKRVH SD\PHQWVP DGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPaWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHFOHUNRIWKHFRXUW

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



✔ -RLQWDQG6HYHUDO
G
     'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV(including defendant number)7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH
      3:15-cr-00024-JGC-1 Aroldo Rigoberto Castillo-Serrano                     3:15-cr-00067-JGC Bortolo Dominguez
      3:15-cr-00024-JGC-2 Conrado Salgado Soto
      3:15-cr-00024-JGC-3 Ana Angelica Pedro Juan

G 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
G 7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVWV
G 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV



3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHUDVVHVVPHQWUHVWLWXWLRQSULQFLSDOUHVWLWXWLRQLQWHUHVWILQHSULQFLSDO
ILQHLQWHUHVWFRPPXQLW\UHVWLWXWLRQSHQDOWLHVDQGFRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
